                             EXHIBIT 7




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          From
             To:
         Subject: [EXTERNAL] RE: Further Discovery
           Date: 2021-11-09 17:51:46 -0600
    Importance: Normal
   Attachments: coa.pdf; Tx labels.pdf; media fill.pdf
  Inline-Images: image001.png



Attached are a few of the items requested. Pending pH and fingerprints.




Sent from Mail for Windows


From
Sent: Tuesda November 9, 2021 10:46 AM
To
Subject: RE: Further Discovery

Thanks so much




    TN        Department of
              Correction



www.facebook.com/TNDepartmentofCorrection
https://twitter.com/TNTDOC1
https://www.youtube.com/TNTDOC1

From:
Sent: Tuesday, November 9, 2021 11:10 AM
.0=MIMM1==
Subject: [EXTERNAL] RE: Further Discovery



*** This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from
unknown senders or unexpected email - STS-Security.***

Good morning,
Yes I can get this together, I don't recall having provided any of these. Let me know if you need anything else.

Thanks



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                                                                                 Defts. Supp. Resp. 02.14.2022_009882
Sent from Mail for Windows


From:
Sent: Tuesda , November 9, 2021 5:45 AM

Subject: Further Discovery




Below are listed additional discovery requests in the case....would you be able to tell what if any of this info you all
have that hasn't already been sent my way? Thanks


                  •        Any information recorded in the pharmacy's computer system related to the expiration dates
                          of any Active Pharmaceutical Ingredients ("API") purchased by the pharmacy in its efforts to
                          provide TDOC with lethal injection chemicals.
                  •         Any certificates of analysis or other records documenting testing of the API purchased by
                          the pharmacy in its efforts to provide TDOC with lethal injection chemicals.
                  •        All records of pH testing conducted on drugs compounded by the pharmacy in its efforts to
                          provide TDOC with lethal injection chemicals.
                  •         All records of media fill testing conducted by the pharmacist and the pharmacy technician
                          involved in preparing TDOC's lethal injection drugs from 2018 to present.
                  •         All records of gloved fingertip sampling conducted by the pharmacist and the pharmacy
                          technician involved in preparing TDOC's lethal injection drugs from 2018 to present.
                  •          Copies of the labels printed on any drug compounded by the pharmacy in its efforts to
                          provide TDOC with lethal injection chemicals.




     TN                    partmen•
                      Correction




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https://twitter.conn/TNTDOC1
https://www.youtube.com/TNTDOC1




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Case014117
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